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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


RITA GALLUSSER                                                                        PLAINTIFF

vs                                                           CIVIL ACTION NO. 3:13CV-509-S

SOARING CAPITAL                                                                     DEFENDANT



                                              ORDER

         Counsel for the plaintiff having filed a notice of voluntary dismissal (DN 5), no answer or
other responsive pleading having been filed on behalf of the defendant, and the Court being
otherwise sufficiently advised,
         IT IS HEREBY ORDERED that this case is DISMISSED from the Court’s docket.


 December 11, 2013




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cc:      Counsel of Record
